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 6   Additional Counsel on Signature Page

 7   Attorneys for Plaintiff

 8

 9                        UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11

12
     HECTOR GUTIERREZ-TORRES, individually          Case No. 2:22-cv-6532
13   and on behalf of himself and all others
     similarly situated,                            CLASS ACTION COMPLAINT
14

15                             Plaintiff,            DEMAND FOR JURY TRIAL
             v.
16

17   CLINIVATE, LLC,
18
                               Defendant.
19

20

21         Plaintiff Hector Gutierrez-Torres (“Plaintiff”) individually and on behalf of
22   all other similarly situated makes the following allegations against Defendant
23
     Clinivate, LLC (“Clinivate”) upon personal knowledge as to his own actions and his
24

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 1
     counsels’ investigation, and upon information and belief as to all other matters, and
 2
     those facts that are a matter of public record:
 3
        I.         NATURE OF THE ACTION
 4

 5            1.     On or about July 22, 2022, Defendant Clinivate posted a notice,

 6   entitled Notice of Data Breach (hereinafter, the “Notice”), announcing publicly that
 7
     an unauthorized actor breached Defendant’s network and accessed Clinivate’s
 8
     files.
 9
              2.     According to Clinivate’s Notice, on May 25, 2022 it learned “that
10
     certain systems and files containing personal information were accessed without
11

12   authorization between March 12, 2022, and March 21, 2022.” These files

13   contained personally identifiable information (“PII”) and protected health
14
     information (‘PHI”) as defined by the Health Insurance Portability and
15
     Accountability Act of 1996 (“HIPAA”), including names, Social Security
16
     numbers, medical record numbers, health plan beneficiary numbers, treatment
17
     information,      diagnosis information,     other medical information and/or
18

19   information related to payments for the provision of healthcare (collectively, the

20   “Private Information”), and were accessed and compromised by an unauthorized
21
     third party in the cybersecurity incident (the “Data Breach”).
22
              3.     As detailed below, the Data Breach was a direct result of Defendant’s
23
     failure to implement adequate and reasonable cyber-security procedures and
24

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 1
     protocols necessary to protect Plaintiff’s and Class Members’ Private Information
 2
     despite the fact that data breach attacks against medical systems and healthcare
 3
     providers are at an all-time high and are a foreseeable risk to entities like Clinivate.
 4

 5         4.     This attack enabled an unauthorized third-party to access Clinivate’s

 6   computer systems and the highly sensitive and confidential data of thousands of
 7
     victims – patients at various medical facilities and treatment centers who use
 8
     Clinivate’s electronic health records services.
 9
           5.     Defendant, despite professing to take the privacy and security of its
10
     patients’ confidential and health information seriously, has not offered to
11

12   provide affected individuals with adequate credit monitoring service (i.e.

13   Clinivate only offers one-year of credit monitoring when the effects of a data
14
     breach can last a lifetime) or compensation for the damages they have suffered
15
     as a result of the Data Breach.
16
           6.     As a consequence of the Data Breach, Plaintiff’s and Class
17
     Members’ Private Information has been released into the public domain and they
18

19   have had to, and will continue to have to, spend time to protect themselves from

20   fraud and identity theft.
21
           7.     The mechanism of the cyberattack and potential for the improper
22
     disclosure of Plaintiff’s and Class Members’ Private Information was a known risk
23
     to Defendant, through frequent news reports and government warnings to the
24

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 1
     healthcare industry, and thus it was on notice that failing to take steps necessary to
 2
     secure the Private Information from those risks left the property in a dangerous and
 3
     vulnerable condition. Defendant Clinivate is an electronic records service provider,
 4

 5   and either should be or is cognizant of the risks of data breaches when storing as

 6   much private information as is needed to render medical services.
 7
           8.     Defendant disregarded the rights of Plaintiff and Class Members
 8
     (defined below) by, inter alia, intentionally, willfully, recklessly, or negligently
 9
     failing to take adequate and reasonable measures to ensure its data systems were
10
     protected against unauthorized intrusions; failing to disclose that it did not have
11

12   adequately robust computer systems and security practices to safeguard patient

13   Private Information; failing to take standard and reasonably available steps to
14
     prevent the Data Breach and failing to provide Plaintiff and Class Members accurate
15
     notice of the Data Breach.
16
           9.     Plaintiff’s and Class Members’ identities are now at risk because of
17
     Defendant’s conduct since the Private Information that Defendant collected and
18

19   maintained is now in the hands of data thieves.

20         10.    Armed with the Private Information accessed in the Data Breach, data
21
     thieves can commit a variety of crimes including, e.g., opening new financial
22
     accounts in Class Members’ names, taking out loans in Class Members’ names,
23
     using Class Members’ information to obtain government benefits, filing fraudulent
24

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 1
     tax returns using Class Members’ information, obtaining driver’s licenses in Class
 2
     Members’ names but with another person’s photograph and/or giving false
 3
     information to police during an arrest.
 4

 5         11.    As a result of the Data Breach, Plaintiff and Class Members have been

 6   exposed to a substantial and present risk of fraud and identity theft. Plaintiff and
 7
     Class Members must now and in the future closely monitor their financial accounts
 8
     to guard against identity theft.
 9
           12.    Plaintiff and Class Members may also incur out of pocket costs for, e.g.,
10
     purchasing credit monitoring services, credit freezes, credit reports or other
11

12   protective measures to deter and detect identity theft.

13         13.    Plaintiff seeks to remedy these harms on behalf of himself and all
14
     similarly situated individuals whose Private Information was accessed during the
15
     Data Breach.
16
           14.    Plaintiff seeks remedies including, but not limited to, compensatory
17
     damages, statutory damages, nominal damages, reimbursement of out-of-pocket
18

19   costs, and injunctive relief including improvements to Defendant’s data security

20   systems, future annual audits, and adequate credit monitoring services funded by
21
     Defendant.
22

23

24

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 1
        II.         JURISDICTION AND VENUE
 2
              15.     This Court has jurisdiction pursuant to the Class Action Fairness Act
 3
     because: (1) at least one putative Class Member is a resident of a different state than
 4

 5   Defendant’s domicile or place of incorporation; (2) there are thousands of putative

 6   Class Members; and (3) the amount-in-controversy exceeds $5,000,000.
 7
              16.     Personal jurisdiction is appropriate over Defendant because Defendant
 8
     is headquartered in California, Defendant transacts, directs, and maintains business
 9
     in California and Defendant maintains a systematic and continuous presence in
10
     California.
11

12            17.     Venue is proper in the Central District of California because Defendant

13   maintains corporate offices in this District, and a substantial part of the acts or
14
     omissions complained of herein occurred in this District.
15
        III.        PARTIES
16
              Plaintiff Hector Gutierrez-Torres
17

18            18.     Plaintiff Hector Gutierrez-Torres is a resident and a citizen of
19   California, currently residing in Los Angeles, California. Plaintiff Gutierrez-Torres
20
     received a Notice letter from Defendant dated July 22, 2022.
21

22

23

24

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 1
              Defendant Clinivate, LLC
 2

 3            19.     Defendant      Clinivate,     LLC     is   an     electronic          health        records

 4   vendor/company that is headquartered at 99 South Lake Avenue, Pasadena,
 5   California.
 6
           IV.       FACTUAL ALLEGATIONS
 7
                                      DEFENDANT’S BUSINESS
 8
              20.     Clinivate is “a company dedicated to creating easy-to-use … tools for
 9

10   the documentation, tracking, and management of behavioral healthcare services.” 1

11            21.     In the course of doing business, Clinivate collects and stores PII and
12   PHI of the patients of various behavioral healthcare services including the Private
13
     Information compromised in the Data Breach, i.e., names, Social Security
14
     numbers, medical record numbers, health plan beneficiary numbers, treatment
15
     information, diagnosis information, other medical information and information
16

17   related to the provision of healthcare.

18             22.    The PII and PHI that the Defendant collects and stores is highly
19   sensitive and it is particularly egregious that a software company responsible for the
20
     storage of behavioral health information did not take the necessary precautions to
21
     protect that information.
22

23
     1
24       https://clinivate.com/?page_id=55, (last accessed Aug. 29, 2022).

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 1
               23.    Despite Clinivate’s failings, the Notice only offers victims a cold
 2
     apology and inadequate identity monitoring and theft protection services. In
 3
     Clinivate’s Privacy Policy for the behavioral health services entities they work with,
 4

 5   they state “[p]rotecting your private information is [Clinivate’s] priority.” 2

 6             24.    Thousands of Data Breach victims, through their behavioral health
 7
     providers, provided Defendant with extremely sensitive and personal PII and PHI,
 8
     such as medical information protected under the Health Insurance Portability and
 9
     Accountability Act of 1996 (“HIPAA”) inclusive of the PII and PHI compromised
10
     in the Breach discussed herein.
11

12             25.    Defendant collects certain medical information about behavioral health

13   care patients and creates records of the care it provides to them.
14
               26.    Additionally, Defendant may receive private and personal information
15
     from other individuals and/or organizations that are part of a patient’s “circle of
16
     care,” such as referring physicians, patients’ other doctors, patients’ health plan(s),
17
     close friends and/or family members.
18

19             27.    Plaintiff and Class members relied on Defendant to keep their highly

20   sensitive information confidential and securely maintained.
21

22

23
     2
24       https://docs.clinivate.com/privacy-policy/, (last accessed Aug. 29, 2022).

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 1
           28.      Due to the highly sensitive and personal nature of the information
 2
     Defendant acquires and stores, Defendant promises to maintain the confidentiality of
 3
     patients’ health, financial, and non-public personal information, ensure compliance
 4

 5   with federal and state laws and regulations, and not to use or disclose patients’

 6   Private Information for non-essential reasons.
 7
           29.      As a condition of receiving medical care and treatment at the behavioral
 8
     health services that the Defendant services, Defendant requires that those patients,
 9
     including Plaintiff and Class Members, entrust it with highly sensitive personal
10
     information.
11

12         30.      Prior to receiving medical care and treatment at those behavioral health

13   services, Plaintiff gave (and was required to give) his highly sensitive personal
14
     information to Defendant.
15
           31.      By obtaining, collecting, using, and deriving a benefit from Plaintiff and
16
     Class members’ PII and PHI, Defendant assumed legal and equitable duties and
17
     knew or should have known that it was responsible for protecting Plaintiff and Class
18

19   members’ PII and PHI from unauthorized disclosure.

20         32.      Plaintiff and the Class members have taken reasonable steps to maintain
21
     the confidentiality of their PII and PHI.
22
           33.      Plaintiff and the Class members relied on Defendant to keep their PII
23
     and PHI confidential and securely maintained, to use this information for business
24

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 1
      and health purposes only, and to make only authorized disclosures of this
 2
      information.
 3
                                        THE BREACH
 4

 5          34.      On or about July 22, 2022, Defendant began informing affected

 6    individuals, including Plaintiff and Class Members, that its computer network
 7
      had been accessed by an unauthorized third-party actor by way of a cyberattack
 8
      and resulting in the compromise of a wide range of PII and PHI belonging to
 9
      patients of healthcare providers that contracted with Defendant for services.
10
            35.      Although the Notice letter states that Defendant experienced a data
11

12    security incident from March 12, 2022 through March 21, 2022, it provides scant

13    detail about the nature, severity, or scope of the attack. Even worse, Defendant
14
      did not inform victims of the data breach until over four months after the Data
15
      Breach occurred and was discovered.
16
            36.      Clinivate’s Notice reveals numerous issues with Clinivate’s response
17
      to the Data Breach: (1) Clinivate first discovered the Data Breach on March 23, 2022
18

19    but did not notify victims until nearly four months later, on July 22, 2022, that their

20    Private Information was compromised; (2) Clinivate concluded its investigation on
21
      May 25, 2022 but did not notify victims of the Data Breach until nearly two months
22
      later, on July 22, 2022; and (3) Clinivate’s Data Breach occurred between March 12,
23
      2022 and March 21, 2022 and Clinivate did not discover the Data Breach until 2
24

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 1
      days later which shows that Clinivate did not or is not effectively monitoring their
 2
      networks for intrusions and suspicious activity.
 3
            37.    But what’s clear from the Notice is that cybercriminals did in fact
 4

 5    exfiltrate Plaintiff’s and Class members’ PII and PHI during the nine-day period in

 6    which the cybercriminals had unfettered access to Defendant’s IT network, as that
 7
      is the modus operandi of cybercriminals who commit such attacks.
 8
            38.    Simply put, Defendant could have prevented this Data Breach but it
 9
      did not implement or maintain adequate measures to protect its patients’ PII and
10
      PHI. Defendant also could have prevented the attackers from exfiltrating
11

12    intelligible data by using standard encryption practices but files accessed by

13    hackers was not encrypted.
14
            39.    Moreover, the removal of Private Information from Defendant’s
15
      system, including, but not limited to, names and Social Security Numbers (which are
16
      the keys to identity theft and fraud), and other health information —demonstrates
17
      that this cyberattack was targeted at Defendant due to its status as a healthcare
18

19    software company that houses sensitive PII and PHI.

20          40.    Due to Defendant’s incompetent security measures, Plaintiff and the
21
      Class Members now face a present and substantial risk of fraud and identity theft
22
      and must deal with that threat forever.
23

24

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 1
            41.    As detailed herein, Defendant had obligations created by HIPAA, the
 2
      FTC Act, California law, industry standards, and common law to Plaintiff and the
 3
      Class members to keep their PII and PHI secure and confidential and to protect it
 4

 5    from unauthorized access and disclosure.

 6          42.    Plaintiff and the Class members entrusted their PII and PHI to
 7
      Defendant with the reasonable expectation that Defendant would comply with its
 8
      obligations to keep such information confidential and secure from unauthorized
 9
      access.
10
            43.    Despite widespread knowledge of the dangers of identity theft and
11

12    fraud associated with cyberattacks and unauthorized disclosure of Private

13    Information, Defendant provided unreasonably deficient protections prior to the
14
      Breach, including, but not limited to a lack of basic security measures for storing
15
      and handling patients’ Private Information and inadequate employee training
16
      regarding how to access, handle and safeguard this information.
17
            44.    Defendant failed to adequately adopt and train its employees on even
18

19    the most basic of information security protocols, including:

20                 a.    storing, locking, encrypting and limiting access to
21
                         patients’ highly sensitive Private Information;
22
                   b.    implementing guidelines for accessing, maintaining
23
                         and communicating sensitive Private Information;
24

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 1
                         and
 2
                   c.    protecting patients’ sensitive Private Information by
 3
                         implementing protocols on how to utilize such
 4

 5                       information.

 6          45.    Defendant’s failures handed Plaintiff’s and Class Members’ Private
 7
      Information over to an unauthorized third party and put Plaintiff and Class Members
 8
      at serious, immediate and continuous risk of identity theft and fraud.
 9
            46.     PHI and PII that is jeopardized in data breaches like the one at issue
10
      here are often sold and purchased over the dark web and used to perpetuate identity
11

12    theft and fraud by criminal actors.

13          47.    As a growing number of federal courts have begun to recognize the loss
14
      of value of Private Information as a viable damages theory, the sale of Private
15
      Information from data breaches, as in the Data Breach alleged herein, is particularly
16
      harmful to data breach victims – especially when it takes place on the dark web.
17
            48.    Plaintiff and Class Members’ PII is a valuable commodity, a market
18

19    exists for Plaintiff and Class Members’ PII (which is why the Data Breach was

20    perpetrated in the first place), and Plaintiff and Class Members’ PII is being likely
21
      being sold by hackers on the dark web as that is how hackers derive value from
22
      Private Information – as a result, Plaintiff and Class Members have lost the value of
23

24

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 1
      their Private Information, which is sufficient to plausibly allege injury arising from
 2
      a data breach.
 3
            49.        The Breach that exposed Plaintiff’s and Class Members’ Private
 4

 5    Information was caused by Defendant’s violation of its obligations to abide by best

 6    practices and industry standards concerning its information security practices and
 7
      processes.
 8
            50.        Defendant failed to comply with security standards or to implement
 9
      security measures that could have prevented or mitigated harm from the Data
10
      Breach.
11

12          51.        Defendant failed to ensure that all personnel with access to patients’

13    Private Information were properly trained in retrieving, handling, using and
14
      distributing sensitive information.
15
                             THE BREACH WAS FORESEEABLE
16
            52.    Defendant had obligations created by HIPAA, industry standards, and
17
      common law made to Plaintiff and Class Members to keep their Private Information
18

19    confidential and to protect it from unauthorized access and disclosure.

20          53.    Plaintiff and Class members provided their Private Information to
21
      Defendant with the reasonable expectation and on the mutual understanding that
22
      Defendant would comply with its obligations to keep such information confidential
23
      and secure from unauthorized access.
24

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 1
                 54.      Defendant’s data security obligations were particularly important given
 2
      the substantial increase in ransomware attacks and/or data breaches in the healthcare
 3
      industry preceding the date of the breach.
 4

 5               55.      Data breaches, including those perpetrated against the healthcare sector

 6    of the economy, have become extremely widespread.
 7
                 56.      In 2021, a record 1,862 data breaches occurred, resulting in
 8
      approximately 293,927,708 sensitive records being exposed, a 68% increase from
 9
      2020. 3 Of the 1,862 recorded data breaches, 330 of them, or 17.7% were in the
10
      medical or healthcare industry. 4 The 330 reported breaches reported in 2021 exposed
11

12    nearly 30 million sensitive records (28,045,658), compared to only 306 breaches that

13    exposed nearly 10 million sensitive records (9,700,238) in 2020. 5
14
                 57.      In light of recent high profile cybersecurity incidents at other healthcare
15
      partner and provider companies, including, American Medical Collection Agency
16
      (25 million patients, March 2019) University of Washington Medicine (974,000
17
      patients, December 2018), Florida Orthopedic Institute (640,000 patients, July
18

19    2020), Wolverine Solutions Group (600,000 patients, September 2018), Oregon

20    Department of Human Services (645,000 patients, March 2019), Elite Emergency
21

22
      3
          See 2021 Data Breach Annual Report (ITRC, Jan. 2022) (available at https://notified.idtheftcenter.org/s/), at 6.
23    4
          Id.
      5
24        Id.

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 1
      Physicians (550,000 patients, June 2020), Magellan Health (365,000 patients, April
 2
      2020), BJC Health System (286,876 patients, March 2020), Defendant knew or
 3
      should have known that its electronic records would be targeted by cybercriminals.
 4

 5           58.     In fact, according to the cybersecurity firm Mimecast, 90% of

 6    healthcare organizations experienced cyberattacks in the past year.
 7
             59.     Indeed, cyberattacks have become so notorious that the Federal Bureau
 8
      of Investigation (“FBI”) and U.S. Secret Service have issued a warning to potential
 9
      targets so they are aware of, and prepared for, a potential attack. As one report
10
      explained, “[e]ntities like smaller municipalities and hospitals are attractive to
11

12    ransomware criminals… because they often have lesser IT defenses and a high

13    incentive to regain access to their data quickly.”
14
             60.     According to the 2019 Health Information Management Systems
15
      Society, Inc. (“HIMMS”) Cybersecurity Survey, “[a] pattern of cybersecurity threats
16
      and experiences is discernable across U.S. healthcare organizations. Significant
17
      security incidents are a near-universal experience in U.S. healthcare organizations
18

19    with many of the incidents initiated by bad actors, leveraging e-mail as a means to

20    compromise the integrity of their targets.” 6
21

22

23
      6
               See
      https://www.himss.org/sites/hde/files/d7/u132196/2019_HIMSS_Cybersecurity_Survey_Final_Report.pdf
24

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 1
            61.     PII and PHI is of great value to hackers and cybercriminals, and the
 2
      data compromised in the Breach can be used in a variety of unlawful manners.
 3
            62.     Indeed, the cybercriminals who possess the Class members’ PII and PHI
 4

 5    can readily obtain Class members’ tax returns or open fraudulent credit card

 6    accounts in Class members’ names.
 7
            63.     Therefore, the increase in such attacks, and attendant risk of future
 8
      attacks, was widely known to the public and to anyone in Defendant’s industry,
 9
      including, upon information and good faith belief, Defendant.
10
                  DEFENDANT FAILED TO FOLLOW FTC GUIDELINES
11

12          64.     The Federal Trade Commission (“FTC”) has promulgated numerous

13    guides for businesses which highlight the importance of implementing reasonable
14
      data security practices.
15
            65.     According to the FTC, the need for data security should be factored into
16
      all business decision-making.
17
            66.     In 2016, the FTC updated its publication, Protecting Personal
18

19    Information: A Guide for Business, which established cyber-security guidelines for

20    businesses.
21
            67.     The guidelines note that businesses should protect the personal patient
22
      information that they keep; properly dispose of personal information that is no longer
23

24

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      CLASS ACTION COMPLAINT
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 1
      needed; encrypt information stored on computer networks; understand their
 2
      network’s vulnerabilities; and implement policies to correct any security problems.
 3
            68.    The guidelines also recommend that businesses use an intrusion
 4

 5    detection system to expose a breach as soon as it occurs; monitor all incoming traffic

 6    for activity indicating someone is attempting to hack the system; watch for large
 7
      amounts of data being transmitted from the system; and have a response plan ready
 8
      in the event of a breach.
 9
            69.    The FTC further recommends that companies not maintain PII longer
10
      than is needed for authorization of a transaction; limit access to sensitive data;
11

12    require complex passwords to be used on networks; use industry-tested methods for

13    security; monitor for suspicious activity on the network; and verify that third-party
14
      service providers have implemented reasonable security measures.
15
            70.    The FTC has brought enforcement actions against businesses for failing
16
      to adequately and reasonably protect patient data, treating the failure to employ
17
      reasonable and appropriate measures to protect against unauthorized access to
18

19    confidential consumer data as an unfair act or practice prohibited by Section 5 of the

20    Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. Orders resulting from
21
      these actions further clarify the measures businesses must take to meet their data
22
      security obligations.
23

24

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 1
            71.     These FTC enforcement actions include actions against healthcare
 2
      providers like Defendant. See, e.g., In the Matter of Labmd, Inc., A Corp, 2016-2
 3
      Trade Cas. (CCH) ¶ 79708, 2016 WL 4128215, at *32 (MSNET July 28, 2016)
 4

 5    (“[T]he Commission concludes that LabMD’s data security practices were

 6    unreasonable and constitute an unfair act or practice in violation of Section 5 of the
 7
      FTC Act.”).
 8
            72.     Defendant failed to properly implement basic data security practices.
 9
            73.     Defendant’s failure to employ reasonable and appropriate measures to
10
      protect against unauthorized access to patients’ PII and PHI constitutes an unfair act
11

12    or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

13          74.     Defendant was at all times fully aware of its obligation to protect the
14
      PII and PHI of the patients for whom it stored PII and PHI. Defendant was also
15
      aware of the significant repercussions that would result from its failure to do so.
16
              DEFENDANT FAILED TO MEET INDUSTRY STANDARDS
17
            75.     As shown above, experts studying cyber security routinely identify
18

19    healthcare providers as being particularly vulnerable to cyberattacks because of the

20    value of the PII and PHI which they collect and maintain.
21
            76.     Several best practices have been identified that a minimum should be
22
      implemented by healthcare providers like Defendant, including but not limited to:
23
      educating all employees; strong passwords; multi-layer security, including firewalls,
24

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 1
      anti-virus, and anti-malware software; encryption, making data unreadable without
 2
      a key; multi-factor authentication; backup data, and; limiting which employees can
 3
      access sensitive data.
 4

 5          77.    Other best cybersecurity practices that are standard in the healthcare

 6    industry include installing appropriate malware detection software; monitoring and
 7
      limiting the network ports; protecting web browsers and email management systems;
 8
      setting up network systems such as firewalls, switches and routers; monitoring and
 9
      protection of physical security systems; protection against any possible
10
      communication system; training staff regarding critical points.
11

12          78.    Defendant failed to meet the minimum standards of any of the

13    following frameworks: the NIST Cybersecurity Framework Version 1.1 (including
14
      without limitation PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7,
15
      PR.AT-1, PR.DS-1, PR.DS-5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7,
16
      DE.CM-8, and RS.CO-2), and the Center for Internet Security’s Critical Security
17
      Controls (CIS CSC), which are all established standards in reasonable cybersecurity
18

19    readiness.

20          79.    These foregoing frameworks are existing and applicable industry
21
      standards in the healthcare industry, and Defendant failed to comply with these
22
      accepted standards, thereby opening the door to and causing the Breach.
23

24

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 1
         DEFENDANT INSUFFICENT DATA SECURITY VIOLATES HIPAA
 2
            80.    HIPAA requires covered entities like Defendant to protect against
 3
      reasonably anticipated threats to the security of sensitive patient health information.
 4

 5          81.    Covered entities must implement safeguards to ensure the

 6    confidentiality, integrity, and availability of PHI. Safeguards must include physical,
 7
      technical, and administrative components.
 8
            82.    Title II of HIPAA contains what are known as the Administrative
 9
      Simplification provisions. These provisions require, among other things, that the
10
      Department of Health and Human Services (“HHS”) create rules to streamline the
11

12    standards for handling PHI and PII like the data Defendant left unguarded.

13          83.    The HHS subsequently promulgated multiple regulations under
14
      authority of the Administrative Simplification provisions of HIPAA. These rules
15
      include 45 C.F.R. § 164.306(a)(1-4); 45 C.F.R. § 164.312(a)(1); 45 C.F.R. §
16
      164.308(a)(1)(i); 45 C.F.R. § 164.308(a)(1)(ii)(D) and 45 C.F.R. § 164.530(b).
17
            A data breach such as the one Defendant experienced, is also
18

19          considered a breach under the HIPAA Rules because there is an access

20          of PHI not permitted under the HIPAA Privacy Rule: A breach under
21
            the HIPAA Rules is defined as, “...the acquisition, access, use, or
22
            disclosure of PHI in a manner not permitted under the [HIPAA Privacy
23

24

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 1
            Rule] which compromises the security or privacy of the PHI.” See 45
 2
            C.F.R. 164.40
 3
            84.      Data breaches are Security Incidents under HIPAA because they
 4

 5    impair both the integrity (data is not interpretable) and availability (data is not

 6    accessible) of patient health information:
 7
            The presence of ransomware (or any malware) on a covered entity’s or
 8
            business associate’s computer systems is a security incident under the
 9
            HIPAA Security Rule. A security incident is defined as the attempted
10
            or successful unauthorized access, use, disclosure, modification, or
11

12          destruction of information or interference with system operations in an

13          information system. See the definition of security incident at 45 C.F.R.
14
            164.304. Once the ransomware is detected, the covered entity or
15
            business associate must initiate its security incident and response and
16
            reporting procedures. See 45 C.F.R.164.308(a)(6).
17
            85.      Defendant’s Breach resulted from a combination of insufficiencies
18

19    that demonstrate it failed to comply with safeguards mandated by HIPAA

20    regulations.
21

22

23

24

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 1
                                   DEFENDANT’S BREACH
 2
            86.   Defendant breached its obligations to Plaintiff and the Class members
 3
      and/or was otherwise negligent and reckless because it failed to properly maintain
 4

 5    and safeguard its computer systems, network, and data.

 6          87.   Defendant’s unlawful conduct includes, but is not limited to, the
 7
      following acts and/or omissions:
 8
                  a.    Failing to maintain an adequate data security system
 9
                        to reduce the risk of data breaches and cyber-
10
                        attacks;
11

12                b.      Failing to adequately protect patients’ Private

13                        Information;
14
                  c.      Failing to properly monitor its own data security
15
                          systems for existing intrusions, brute-force
16
                          attempts and clearing of event logs;
17
                  d.      Failing to apply all available security updates;
18

19                e.      Failing to install the latest software patches,

20                        update its firewalls, check user account privileges,
21
                          or ensure proper security practices;
22
                  f.      Failing to practice the principle of least-privilege
23
                          and maintain credential hygiene;
24

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 1
                 g.      Failing to avoid the use of domain-wide, admin-
 2
                         level service accounts;
 3
                 h.      Failing to employ or enforce the use of strong
 4

 5                       randomized, just-in- time local administrator

 6                       passwords;
 7
                 i.      Failing to properly train and supervise employees
 8
                         in the proper handling of inbound emails;
 9
                 j.      Failing to ensure the confidentiality and integrity
10
                         of electronic PHI it created, received, maintained
11

12                       and/or transmitted, in violation of 45 C.F.R. §

13                       164.306(a)(1);
14
                 k.      Failing to implement technical policies and
15
                         procedures for        electronic information systems
16
                         that maintain electronic PHI to allow access only to
17
                         those persons or software programs that have been
18

19                       granted access rights in violation of 45 C.F.R. §

20                       164.312(a)(1);
21
                 l.      Failing to implement policies and procedures to
22
                         prevent, detect, contain, and correct security
23
                         violations   in      violation   of      45      C.F.R. §
24

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 1
                         164.308(a)(1)(i);
 2
                 m.      Failing to implement procedures to review records
 3
                         of information system activity regularly, such as
 4

 5                       audit logs, access reports, and security incident

 6                       tracking reports in violation of 45 C.F.R. §
 7
                         164.308(a)(1)(ii)(D);
 8
                 n.      Failing to protect against reasonably anticipated
 9
                         threats or hazards to the security or integrity of
10
                         electronic PHI in violation of 45 C.F.R. §
11

12                       164.306(a)(2);

13               o.      Failing to protect against reasonably anticipated
14
                         uses or disclosures of electronic PHI that are not
15
                         permitted under the privacy rules regarding
16
                         individually identifiable health information in
17
                         violation of 45 C.F.R. § 164.306(a)(3);
18

19               p.      Failing to ensure compliance with HIPAA security

20                       standard rules by its workforces in violation of 45
21
                         C.F.R. § 164.306(a)(4);
22
                 q.      Failing to train all members of its workforces
23
                         effectively on the policies and procedures
24

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 1
                           regarding PHI as necessary and appropriate for the
 2
                           members of its workforces to carry out their
 3
                           functions and to maintain security of PHI, in
 4

 5                         violation of 45 C.F.R. § 164.530(b) and/or

 6                 r.      Failing to render the electronic PHI it maintained
 7
                           unusable,    unreadable,   or indecipherable              to
 8
                           unauthorized individuals, as it had not encrypted
 9
                           the electronic PHI as specified in the HIPAA
10
                           Security Rule by “the use of an algorithmic
11

12                         process to transform data into a form in which

13                         there is a low probability of assigning meaning
14
                           without use of a confidential process or key,” 45
15
                           CFR § 164.304 (definition of encryption).
16
            88.     As the result of allowing its computer systems to fall into dire need of
17

18
      security upgrading and its inadequate procedures for handling cybersecurity threats,

19    Defendant negligently and unlawfully failed to safeguard Plaintiff and the Class
20    members’ PII and PHI.
21
            89.     Accordingly, as outlined below, Plaintiff and Class members now face
22
      a substantial, increased, and immediate risk of fraud and identity theft.
23

24

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 1
             90.       In addition, Plaintiff and the Class members also lost the benefit of the
 2
      bargain they made with Defendant because of its inadequate data security practices
 3
      for which they gave good and valuable consideration.
 4

 5        DATA BREACHES ARE DISRUPTIVE & PUT CONSUMERS AT RISK

 6           91.     The United States Government Accountability Office released a
 7
      report in 2007 regarding data breaches (“GAO Report”) in which it noted that
 8
      victims of identity theft will face “substantial costs and time to repair the damage
 9
      to their good name and credit record.” 7
10
             92.     That is because any victim of a data breach is exposed to serious
11

12    ramifications regardless of the nature of the data. Indeed, the reason criminals

13    steal personally identifiable information is to monetize it.
14
             93.     They do this by selling the spoils of their cyberattacks on the black
15
      market to identity thieves who desire to extort and harass victims, take over
16
      victims’ identities in order to engage in illegal financial transactions under the
17
      victims’ names. Because a person’s identity is akin to a puzzle, the more
18

19    accurate pieces of data an identity thief obtains about a person, the easier it is for

20    the thief to take on the victim’s identity, or otherwise harass or track the victim.
21

22

23
      7
              See U.S. Gov. Accounting Office, GAO-07-737, Personal Information: Data Breaches Are
      Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is Unknown
24    (2007). Available at https://www.gao.gov/new.items/d07737.pdf.

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 1
              94.     For example, armed with just a name and date of birth, a data thief
 2
      can utilize a hacking technique referred to as “social engineering” to obtain even
 3
      more information about a victim’s identity, such as a person’s login credentials
 4

 5    or Social Security number.

 6            95.     Social engineering is a form of hacking whereby a data thief uses
 7
      previously acquired information to manipulate individuals into disclosing
 8
      additional confidential or personal information through means such as spam
 9
      phone calls and text messages or phishing emails.
10
              96.     The FTC recommends that identity theft victims take several steps
11

12    to protect their personal and financial information after a data breach, including

13    contacting one of the credit bureaus to place a fraud alert (consider an extended
14
      fraud alert that lasts for 7 years if someone steals their identity), reviewing their
15
      credit reports, contacting companies to remove fraudulent charges from their
16
      accounts, placing a credit freeze on their credit, and correcting their credit
17
      reports. 8
18

19            97.     Identity thieves use stolen personal information such as Social

20    Security numbers for a variety of crimes, including credit card fraud, phone or
21
      utilities fraud, and bank/finance fraud.
22

23
      8
              See IdentityTheft.gov, Federal Trade Commission, https://www.identitytheft.gov/Steps (last
      visited Mar. 16, 2021).
24

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 1
              98.     Identity thieves can also use Social Security numbers to obtain a
 2
      driver’s license or official identification card in the victim’s name but with the
 3
      thief’s picture; use the victim’s name and Social Security number to obtain
 4

 5    government benefits; or file a fraudulent tax return using the victim’s

 6    information. In addition, identity thieves may obtain a job using the victim’s
 7
      Social Security number, rent a house or receive medical services in the victim’s
 8
      name, and may even give the victim’s personal information to police during an
 9
      arrest resulting in an arrest warrant being issued in the victim’s name.
10
              99.     A study by Identity Theft Resource Center shows the multitude of
11

12    harms caused by fraudulent use of personal and financial information: 9

13            100. Moreover, theft of PII and PHI is also gravely serious. PII and PHI
14
      is an extremely valuable property right. 10
15
              101. Its value is axiomatic, considering the value of “big data” in
16
      corporate America and the fact that the consequences of cyber thefts include
17
      heavy prison sentences. Even this obvious risk to reward analysis illustrates
18

19    beyond doubt that PII and PHI has considerable market value.

20

21
      9
               See Jason Steele, Credit Card and ID Theft Statistics, CreditCards.com (Oct. 23, 2020)
22    https://www.creditcards.com/credit-card-news/credit-card-security-id-theft-fraud-statistics-1276.php.
      10
               See, e.g., John T. Soma, et al., Corporate Privacy Trend: The “Value” of Personally Identifiable
23    Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4 (2009)
      (“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching a level
24    comparable to the value of traditional financial assets.”) (citations omitted).

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 1
              102. Theft of PHI, in particular, is gravely serious: “[a] thief may use
 2
      your name or health insurance numbers to see a doctor, get prescription drugs,
 3
      file claims with your insurance provider, or get other care. If the thief’s health
 4

 5    information is mixed with yours, your treatment, insurance and payment records,

 6    and credit report may be affected.” 11
 7
              103. Drug manufacturers, medical device manufacturers, pharmacies,
 8
      hospitals and other healthcare service providers often purchase PII and PHI on
 9
      the black market for the purpose of target marketing their products and services
10
      to the physical maladies of the data breach victims themselves. Insurance
11

12    companies purchase and use wrongfully disclosed PHI to adjust their insureds’

13    medical insurance premiums.
14
              104. It must also be noted there may be a substantial time lag—measured
15
      in years—between when harm occurs and when it is discovered, and also
16
      between when PII, PHI, and/or financial information is stolen and when it is
17
      used.
18

19            105. According to the U.S. Government Accountability Office, which

20    conducted a study regarding data breaches:
21
              [L]aw enforcement officials told us that in some cases, stolen data
22            may be held for up to a year or more before being used to commit
              identity theft. Further, once stolen data have been sold or posted on
23
       See Federal Trade Commission, Medical Identity Theft, http://www.consumer.ftc.gov/articles/0171-
      11


24    medical-identity-theft

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 1
              the Web, fraudulent use of that information may continue for years.
 2            As a result, studies that attempt to measure the harm resulting from
              data breaches cannot necessarily rule out all future harm. See GAO
 3            Report, at p. 29.
 4

 5            106.     PII and PHI is such a valuable commodity to identity thieves that

 6    once the information has been compromised, criminals often trade the
 7
      information on the “cyber black-market” for years.
 8
              107.     There is a strong probability that entire batches of stolen
 9
      information have been dumped on the black market and are yet to be dumped on
10

11    the black market, meaning Plaintiff and Class members are at an increased risk

12    of fraud and identity theft for many years into the future.
13
              108.     Thus, Plaintiff and Class members must vigilantly monitor their
14
      financial and medical accounts for many years to come.
15
              109.     Sensitive PII and PHI can sell for as much as $363 per record
16

17    according to the Infosec Institute. 12

18            110.     PII is particularly valuable because criminals can use it to target
19
      victims with frauds and scams.
20
              111.     Once PII is stolen, fraudulent use of that information and damage
21

22

23
      12
               See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
24    https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/.

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 1
      to victims may continue for years.
 2
             112.      For example, the Social Security Administration has warned that
 3

 4    identity thieves can use an individual’s Social Security number to apply for

 5    additional credit lines. 13 Such fraud may go undetected until debt collection calls
 6
      commence months, or even years, later. Stolen Social Security Numbers also
 7
      make it possible for thieves to file fraudulent tax returns, file for unemployment
 8
      benefits, or apply for a job using a false identity. 14
 9

10           113.      Each of these fraudulent activities is difficult to detect. An

11    individual may not know that his or her Social Security Number was used to file
12
      for unemployment benefits until law enforcement notifies the individual’s
13
      employer of the suspected fraud. Fraudulent tax returns are typically discovered
14

15    only when an individual’s authentic tax return is rejected.

16           114.      Moreover, it is not an easy task to change or cancel a stolen Social
17
      Security number.
18
             115.      An individual cannot obtain a new Social Security number without
19
      significant paperwork and evidence of actual misuse. Even then, a new Social
20

21    Security number may not be effective, as “[t]he credit bureaus and banks are

22

23
      13
             Identity Theft and Your Social Security Number, Social Security Administration (2018) at 1.
      Available at https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited Mar. 16, 2021).
24
      14
             Id. at 4.

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 1
      able to link the new number very quickly to the old number, so all of that old
 2
      bad information is quickly inherited into the new Social Security number.” 15
 3

 4           116.      This data, as one would expect, demands a much higher price on

 5    the black market. Martin Walter, senior director at cybersecurity firm RedSeal,
 6
      explained, “[c]ompared to credit card information, personally identifiable
 7
      information and Social Security Numbers are worth more than 10x on the black
 8
      market.” 16
 9

10           117.      Medical information is especially valuable to identity thieves.

11           118.      According to account monitoring company LogDog, medical data
12
      sells for $50 and up on the Dark Web. 17
13
             119.      Because of the value of its collected and stored data, the medical
14

15    industry has experienced disproportionally higher numbers of data theft events

16    than other industries.
17
             120.      For this reason, Defendant knew or should have known about these
18

19
      15
              Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR (Feb.
20    9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-millions-
      worrying-about-identity-theft.
21    16
              Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
      Numbers, Computer World (Feb. 6, 2015), http://www.itworld.com/article/2880960/anthem-hack-
22    personal-data-stolen-sells-for-10x-price-of-stolen-credit-card-numbers.html.
      17
              Lisa Vaas, Ransomware Attacks Paralyze, and Sometimes Crush, Hospitals, Naked Security (Oct.
23    3, 2019), https://nakedsecurity.sophos.com/2019/10/03/ransomware-attacks-paralyze-and-sometimes-
      crush-hospitals/#content.
24

                                                                      MILBERG COLEMAN BRYSON
      CLASS ACTION COMPLAINT
                                                                       PHILLIPS GROSSMAN PLLC
                                                - 33                          280 South Beverly Drive
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 1
      dangers and strengthened its network and data security systems accordingly.
 2
      Defendant was put on notice of the substantial and foreseeable risk of harm from
 3
      a data breach, yet it failed to properly prepare for that risk.
 4

 5                                 HARM TO PLAINTIFF

 6          121. Plaintiff was required to and did entrust his Private Information to
 7
      Defendant through his health services provider who required that Defendant keep
 8
      the Private Information safe from unauthorized disclosure. Plaintiff received a
 9
      Notice of Data Breach from Defendant dated July 22, 2022. The Notice stated that
10
      Plaintiff’s name, Social Security number, medical record number, health plan
11

12    beneficiary number, treatment information, diagnosis information, other medical

13    information and/or information related to payments for the provision of healthcare
14
      was compromised in the Data Breach.
15
            122. To date, Defendant has done next to nothing to adequately protect
16
      Plaintiff and Class Members, or to compensate them for their injuries sustained in
17
      this Data Breach.
18

19          123. Defendant’s data breach notice letter downplays the theft of Plaintiff’s

20    and Class Members PII and PHI, when the facts demonstrate that the PII and PHI
21
      was deliberately exfiltrated in a criminal action. The fraud and identity monitoring
22
      services offered by Defendant are only for one year, and Defendant places the burden
23
      squarely on Plaintiff and Class Members by requiring them to expend time signing
24

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 1
      up for the service and addressing timely issues resulting from the Data Breach.
 2
            124. Plaintiff and Class Members have been further damaged by the
 3
      compromise of their PII and PHI.
 4

 5          125. Plaintiff’s PII and PHI was compromised in the Data Breach and was

 6    likely stolen and in the hands of cybercriminals who illegally accessed Defendant’s
 7
      network for the specific purpose of targeting the PII and PHI.
 8
            126. Plaintiff typically takes measures to protect his PII and PHI and is very
 9
      careful about sharing his PII and PHI. For example, Plaintiff has never knowingly
10
      transmitted unencrypted PII over the internet or other unsecured source.
11

12          127. Plaintiff stores any documents containing his PHI and PII in a safe and

13    secure location, and he diligently chooses unique usernames and passwords for his
14
      online accounts.
15
            128. As a result of the Data Breach, Plaintiff has suffered a loss of time and
16
      has spent and continues to spend a considerable amount of time on issues related to
17
      this Data Breach. This is time that was lost and unproductive and took away from
18

19    other activities and duties.

20          129. As a result of the Data Breach, Plaintiff made reasonable efforts to
21
      mitigate the impact of the Data Breach after receiving the data breach notification
22
      letter, including but not limited to researching the Data Breach, reviewing credit
23
      reports, financial account statements, and/or medical records for any indications of
24

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 1
      actual or attempted identity theft or fraud.
 2
             130. Plaintiff has suffered actual injury in the form of fraud attempts – there
 3
      has been at least one attempt to open credit cards in his name, which were reported
 4

 5    to authorities.

 6           131. Plaintiff also suffered actual injury in the form of damages to and
 7
      diminution in the value of his Private Information — a form of intangible property
 8
      that he entrusted to Defendant for the purpose of facilitating healthcare services from
 9
      Defendant, which was compromised in and as a result of the Data Breach.
10
             132. Plaintiff suffered lost time, annoyance, interference, and inconvenience
11

12    as a result of the Data Breach and has anxiety and increased concerns for the loss of

13    his privacy.
14
             133. Plaintiff has suffered imminent and impending injury arising from the
15
      substantially increased risk of fraud, identity theft, and misuse resulting from his PII
16
      and PHI, especially his Social Security Number and health information, being placed
17
      in the hands of criminals.
18

19           134. Defendant obtained and continues to maintain Plaintiff’s PII and PHI

20    and has a continuing legal duty and obligation to protect that PII and PHI from
21
      unauthorized access and disclosure. Defendant required the PII and PHI from
22
      Plaintiff when he received healthcare services. Plaintiff, however, would not have
23
      entrusted his PII and PHI to Defendant had he known that it would fail to maintain
24

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 1
      adequate data security. Plaintiff’s PII and PHI was compromised and disclosed as a
 2
      result of the Data Breach.
 3
              135. As a result of the Data Breach, Plaintiff anticipates spending
 4

 5    considerable time and money on an ongoing basis to try to mitigate and address

 6    harms caused by the Data Breach. As a result of the Data Breach, Plaintiff is at a
 7
      present risk and will continue to be at increased risk of identity theft and fraud for
 8
      years to come.
 9
         V.      CLASS ALLEGATIONS
10
              136. Plaintiff brings this suit on behalf of himself and a class of similarly
11

12    situated individuals under Federal Rule of Civil Procedure 23, which is preliminarily

13    defined as:
14
              National Class. All persons Defendant has identified as being among
15            those individuals impacted by the Data Breach, including all who were
              sent a notice of the Data Breach (the “Class”).
16
              137. Plaintiff also seeks to represent a California Subclass defined as:
17
              California Subclass. All persons who reside in California and who
18
              Defendant has identified as being among those individuals impacted
19            by the Data Breach, including all who were sent a notice of the Data
              Breach (the “Subclass”).
20
              138. Excluded from the Classes are the following individuals and/or entities:
21

22    Defendant and Defendant’s parents, subsidiaries, affiliates, officers and directors,

23    and any entity in which Defendant has a controlling interest; all individuals who

24

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 1
      make a timely election to be excluded from this proceeding using the correct protocol
 2
      for opting out; and all judges assigned to hear any aspect of this litigation, as well as
 3
      their immediate family members.
 4

 5          139. Numerosity. The Class Members are so numerous that joinder of all

 6    members is impracticable. Though the exact number and identities of Class
 7
      Members are unknown at this time, public news reports indicate that thousands of
 8
      individuals had their PII and PHI compromised in this Data Breach. The identities
 9
      of Class Members are ascertainable through Defendant’s records, Class Members’
10
      records, publication notice, self-identification, and other means.
11

12          140. Commonality. There are questions of law and fact common to the

13    Classes, which predominate over any questions affecting only individual Class
14
      Members. These common questions of law and fact include, without limitation:
15
                   a.     Whether Defendant unlawfully used, maintained,
16
                          lost, or disclosed Plaintiff’s and Class Members’ PII
17
                          and PHI;
18

19                 b.     Whether Defendant failed to implement and

20                        maintain reasonable security procedures and
21
                          practices appropriate to the nature and scope of the
22
                          information compromised in the Data Breach;
23
                   c.     Whether Defendant’s data security systems prior to
24

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 1
                       and during the Data Breach complied with
 2
                       applicable data security laws and regulations;
 3
                 d.    Whether Defendant’s data security systems prior to
 4

 5                     and during the Data Breach were consistent with

 6                     industry standards;
 7
                 e.    Whether Defendant owed a duty to Class Members
 8
                       to safeguard their PII and PHI;
 9
                 f.    Whether Defendant breached its duty to Class
10
                       Members to safeguard their PII and PHI;
11

12               g.    Whether Class Members’ unencrypted PII and PHI

13                     was exfiltrated in the Data Breach;
14
                 h.    Whether Defendant knew or should have known
15
                       that its data security systems and monitoring
16
                       processes were deficient;
17
                 i.    Whether Plaintiff and Class Members suffered
18

19                     legally cognizable damages as a result of

20                     Defendant’s misconduct;
21
                 j.    Whether Defendant’s conduct was negligent;
22
                 k.    Whether Defendant’s conduct was per se negligent,
23
                       and;
24

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 1
                    l.     Whether Plaintiff and Class Members are entitled to
 2
                           damages, civil penalties, punitive damages, and/or
 3
                           injunctive relief.
 4

 5           141. Typicality. Plaintiff’s claims are typical of those of other Class

 6    Members because Plaintiff’s Private Information, like that of every other Class
 7
      member, was compromised in the Data Breach.
 8
             142. Adequacy of Representation. Plaintiff will fairly and adequately
 9
      represent and protect the interests of the Members of the Classes. Plaintiff’s Counsel
10
      is competent and experienced in litigating Class actions, including data privacy
11

12    litigation of this kind.

13           143. Predominance. Defendant has engaged in a common course of conduct
14
      toward Plaintiff and Class Members, in that all the Plaintiff’s and Class Members’
15
      data was stored on the same computer systems and unlawfully accessed in the same
16
      way. The common issues arising from Defendant’s conduct affecting Class
17
      Members set out above predominate over any individualized issues. Adjudication of
18

19    these common issues in a single action has important and desirable advantages of

20    judicial economy.
21
             144. Superiority. A Class action is superior to other available methods for
22
      the fair and efficient adjudication of the controversy. Class treatment of common
23
      questions of law and fact is superior to multiple individual actions or piecemeal
24

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 1
      litigation. Absent a Class action, most Class Members would likely find that the cost
 2
      of litigating their individual claims is prohibitively high and would therefore have
 3
      no effective remedy. The prosecution of separate actions by individual Class
 4

 5    Members would create a risk of inconsistent or varying adjudications with respect

 6    to individual Class Members, which would establish incompatible standards of
 7
      conduct for Defendant. In contrast, the conduct of this action as a Class action
 8
      presents far fewer management difficulties, conserves judicial resources and the
 9
      parties’ resources, and protects the rights of each Class member.
10
            145.    Defendant has acted on grounds that apply generally to the Classes as
11

12    a whole, so that Class certification, injunctive relief, and corresponding declaratory

13    relief are appropriate on a Class-wide basis.
14
            146. Likewise, particular issues under Federal Rule 23(c)(4) are appropriate
15
      for certification because such claims present only particular, common issues, the
16
      resolution of which would advance the disposition of this matter and the parties’
17
      interests therein. Such particular issues include, but are not limited to:
18

19                 a.     Whether Defendant owed a legal duty to Plaintiff

20                        and the Classes to exercise due care in collecting,
21
                          storing, and safeguarding their Private Information;
22
                   b.     Whether Defendant’s security measures to protect
23
                          their data systems were reasonable in light of best
24

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 1
                         practices recommended by data security experts;
 2
                   c.    Whether Defendant’s failure to institute adequate
 3
                         protective    security   measures       amounted            to
 4

 5                       negligence;

 6                 d.    Whether Defendant failed to take commercially
 7
                         reasonable steps to safeguard consumer Private
 8
                         Information; and
 9
                   e.    Whether      adherence   to   FTC       data       security
10
                         recommendations, and measures recommended by
11

12                       data security experts would have reasonably

13                       prevented the data breach.
14
            147.   Finally, all members of the proposed Classes are readily ascertainable.
15
      Defendant has access to Class Members’ names and addresses affected by the Data
16
      Breach. Class Members have already been preliminarily identified and sent notice
17
      of the Data Breach by Defendant.
18

19       VI.   CAUSES OF ACTION

20                             FIRST CAUSE OF ACTION
                                          Negligence
21
                        (On behalf of Plaintiff and the National Class)
22
            148. Plaintiff re-alleges and incorporates by reference all paragraphs
23
      above as if fully set forth herein.
24

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 1
            149. Plaintiff brings this Count on his own behalf and on behalf of the
 2
      National Class (the “Class” for the purposes of this Count).
 3
            150. Defendant required Plaintiff and the Class Members to entrust to it non-
 4

 5    public personal information in order to obtain the benefit of its services. Plaintiff

 6    and Class Members were the intended beneficiaries of Defendant’s services and
 7
      were harmed as a result of Defendant’s negligent data security practices.
 8
            151. The Class members are individuals who entrusted certain PII and PHI to
 9
      Defendant including, but not limited to, their names, addresses, Social Security
10
      Numbers and “medical information” as a necessary condition of Defendant
11

12    providing software-related services required to render medical services to the Class

13    members.
14
            152. Defendant had full knowledge of the sensitivity of the PII and PHI to
15
      which it was entrusted and the types of harm that Class members could and would
16
      suffer if the information were wrongfully disclosed.
17
            153. Defendant had a duty to each Class Member to exercise reasonable care
18

19    in holding, safeguarding, and protecting that information.

20          154. Plaintiff and the Class Members were the foreseeable victims of any
21
      inadequate safety and security practices with respect to their Private Information.
22
            155. The Class Members had no ability to protect their data in Defendant’s
23
      possession.
24

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 1
            156. By collecting and storing this data in its computer property, and by
 2
      sharing it and using it for commercial gain, Defendant had a duty of care to use
 3
      reasonable means to secure and safeguard its computer property—and the Class
 4

 5    Members’ PII and PHI held within it—to prevent disclosure of the information and

 6    to safeguard the information from theft.
 7
            157. Defendant’s duty included a responsibility to implement processes by
 8
      which they could detect a breach of its security systems in a reasonably expeditious
 9
      period of time and to give prompt notice to those affected in the case of a data breach.
10
            158. Defendant owed a duty of care to safeguard the PII and PHI of Plaintiff
11

12    and Class members in its custody. This duty of care arises because Defendant knew

13    of a foreseeable risk to the data security systems it used. Defendant knew of this
14
      foreseeable risk because of the explosion of ransomware and data breach incidents
15
      involving healthcare providers detailed above. Despite its knowledge of this
16
      foreseeable risk, Defendant failed to implement reasonable security measures.
17
            159. Defendant owed a duty of care to Plaintiff and the Class members to
18

19    provide data security consistent with industry standards and other requirements

20    discussed herein, and to ensure that its systems and networks, and the personnel
21
      responsible for them, adequately protected the PII and PHI.
22
            160. Defendant was in a position to ensure that its systems were sufficient
23
      to protect against the foreseeable risk of harm to Class members from a data breach.
24

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 1
             161. Defendant’s duty to use reasonable security measures under HIPAA
 2
      required Defendant to “reasonably protect” confidential data from “any intentional
 3
      or unintentional use or disclosure” and to “have in place appropriate administrative,
 4

 5    technical, and physical safeguards to protect the privacy of protected health

 6    information.” 45 C.F.R. § 164.530(c)(1).
 7
             162. Some or all of the medical information at issue in this case constitutes
 8
      “protected health information” within the meaning of HIPAA.
 9
             163. In addition, Defendant had a duty to employ reasonable security
10
      measures under Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45,
11

12    which prohibits “unfair . . . practices in or affecting commerce,” including, as

13    interpreted and enforced by the FTC, the unfair practice of failing to use reasonable
14
      measures to protect confidential data.
15
             164. Defendant’s duty to use reasonable care in protecting confidential data
16
      arose not only as a result of the statutes and regulations described above, but also
17
      because Defendant is bound by industry standards to protect confidential PII and
18

19    PHI.

20           165. Defendant breached its duties, and thus was negligent, by failing to use
21
      reasonable measures to protect the Class members’ PHI and PII.
22
             166. The specific negligent acts and omissions committed by Defendant
23
      includes, but are not limited to, the following:
24

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 1
                 a.    Failing to adopt, implement and maintain
 2
                       adequate security measures to safeguard Class
 3
                       members’ PII and PHI;
 4

 5               b.    Failing to adequately monitor the security of its

 6                     networks and systems;
 7
                 c.    Failure to periodically ensure that their network
 8
                       system had plans in place to maintain reasonable
 9
                       data security safeguards;
10
                 d.    Allowing unauthorized access to Class members’
11

12                     PII and PHI;

13               e.    Failing to detect in a timely manner that Class
14
                       members’ PII and PHI had been compromised;
15
                 f.    Failing to timely notify Class members about the
16
                       Data Breach so that they could take appropriate
17
                       steps to mitigate the potential for identity theft
18

19                     and other damages; and

20               g.    Failing to have mitigation and back-up plans in
21
                       place in the event of a cyber- attack and data
22
                       breach.
23

24

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 1
            167.    It was foreseeable that Defendant’s failure to use reasonable measures
 2
      to protect Class members’ PII and PHI would result in injury to Plaintiff and Class
 3
      members.
 4

 5          168.    Further, the breach of security was reasonably foreseeable given the

 6    known high frequency of hacking incidents, cyberattacks, and data breaches in the
 7
      healthcare industry.
 8
            169.    It was therefore foreseeable that the failure to adequately safeguard
 9
      Class members’ PII and PHI would result in one or more types of injuries to Class
10
      members.
11

12          170.    Plaintiff and Class members are entitled to compensatory and

13    consequential damages suffered as a result of the Breach.
14
            171.    Plaintiff and Class members are also entitled to injunctive relief
15
      requiring Defendant to (i) strengthen its data security systems and monitoring
16
      procedures; (ii) submit to future annual audits of those systems and monitoring
17
      procedures and (iii) provide adequate credit monitoring to all Class members.
18

19                           SECOND CAUSE OF ACTION
          Violation of the California Confidentiality of Medical Information Act
20                               Cal. Civ. Code § 56, et seq.
                       (On behalf of Plaintiff and the National Class)
21

22          172. Plaintiff re-alleges and incorporates by reference all proceeding

23    paragraphs as if fully set forth herein.

24

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 1
            173. Plaintiff brings this Count on his own behalf and on behalf of the
 2
      National Class (the “Class” for the purposes of this Count).
 3
            174. Section 56.10(a) of the California Civil Code provides that “[a]
 4

 5    provider of health care, health care service plan, or contractor shall not disclose

 6    medical information regarding a patient of the provider of health care or an enrollee
 7
      or subscriber of a health care service plan without first obtaining an authorization[.]”
 8
            175. Defendant       is a “contractor” within the meaning of Civil Code
 9
      § 56.05(d) within the meaning of Civil Code § 56.06 and/or a “business organized
10
      for the purpose of maintaining medical information” and/or a “business that offers
11

12    software or hardware to consumers . . . that is designed to maintain medical

13    information” within the meaning of Civil Code § 56.06(a) and (b), and maintained
14
      and continues to maintain “medical information,” within the meaning of Civil Code
15
      § 56.05(j), for “patients” of Defendant, within the meaning of Civil Code § 56.05(k).
16
            176. Plaintiff and all members of the Class are “patients” within the meaning
17
      of Civil Code § 56.05(k) and are “endanger[ed]” within the meaning of Civil Code
18

19    § 56.05(e) because Plaintiff and the Class fear that disclosure of their medical

20    information could subject them to harassment or abuse.
21
            177. Plaintiff and the respective Class Members, as patients, had their
22
      individually identifiable “medical information,” within the meaning of Civil Code
23

24

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 1
      § 56.05(j), created, maintained, preserved, and stored on Defendant’s computer
 2
      network at the time of the breach.
 3
            178. Defendant, through inadequate security, allowed unauthorized third-
 4

 5    party access to Plaintiff’s and each Class Members’ medical information, without

 6    the prior written authorization of Plaintiff and the Class Members, as required by
 7
      Civil Code § 56.10 of the CMIA.
 8
            179. In violation of Civil Code § 56.10(a), Defendant disclosed Plaintiff’s
 9
      and the Class Members’ medical information without first obtaining an
10
      authorization. Plaintiff’s and the Class Members’ medical information was viewed
11

12    by unauthorized individuals as a direct and proximate result of Defendant’s violation

13    of Civil Code § 56.10(a).
14
            180. In violation of Civil Code § 56.10(e), Defendant further disclosed
15
      Plaintiff’s and the Class Members’ medical information to persons or entities not
16
      engaged in providing direct health care services to Plaintiff or the Class Members or
17
      their providers of health care or health care service plans or insurers or self-insured
18

19    employers.

20          181. Defendant violated Civil Code § 56.101 of the CMIA through its willful
21
      and knowing failure to maintain and preserve the confidentiality of the medical
22
      information of Plaintiff and the Class. Defendant’s conduct with respect to the
23
      disclosure of confidential PII/PHI was willful and knowing because Defendant
24

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 1
      designed and implemented the computer network and security practices that gave
 2
      rise to the Data Breach.
 3
            182. In violation of Civil Code § 56.101(a), Defendant created, maintained,
 4

 5    preserved, stored, abandoned, destroyed, or disposed of Plaintiff’s and the Class

 6    members’ medical information in a manner that failed to preserve and breached the
 7
      confidentiality of the information contained therein. Plaintiff’s and the Class
 8
      members’ medical information was viewed by unauthorized individuals as a direct
 9
      and proximate result of Defendant’s violation of Civil Code § 56.101(a).
10
            183. In violation of Civil Code § 56.101(a), Defendant negligently created,
11

12    maintained, preserved, stored, abandoned, destroyed, or disposed of Plaintiff’s and

13    the Class members’ medical information. Plaintiff’s and the Class members’ medical
14
      information was viewed by unauthorized individuals as a direct and proximate result
15
      of Defendant’s violation of Civil Code § 56.101(a).
16
            184. Plaintiff’s and the Class members’ medical information that was the
17
      subject of the Data Breach included “electronic medical records” or “electronic
18

19    health records” as referenced by Civil Code § 56.101(c) and defined by 42 U.S.C.

20    § 17921(5).
21
            185. In violation of Civil Code § 56.101(b)(1)(A), Defendant’s electronic
22
      health record system or electronic medical record system failed to protect and
23
      preserve the integrity of electronic medical information. Plaintiff’s and the Class
24

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 1
      members’ medical information was viewed by unauthorized individuals as a direct
 2
      and proximate result of Defendant’s violation of Civil Code § 56.101(b)(1)(A).
 3
            186. Defendant violated Civil Code § 56.36 of the CMIA through its failure
 4

 5    to maintain and preserve the confidentiality of the medical information of Plaintiff

 6    and the Class.
 7
            187. As a result of Defendant’s above-described conduct, Plaintiff and the
 8
      Class have suffered damages from the unauthorized disclosure and release of their
 9
      individual identifiable “medical information” made unlawful by Civil Code
10
      §§ 56.10, 56.101, 56.36.
11

12          188. As a direct and proximate result of Defendant’s above-described

13    wrongful actions, inaction, omissions, and want of ordinary care that directly and
14
      proximately caused the Data Breach, and violation of the CMIA, Plaintiff and the
15
      Class members have suffered (and will continue to suffer) economic damages and
16
      other injury and actual harm in the form of, inter alia, (i) an imminent, immediate
17
      and the continuing increased risk of identity theft, identity fraud and medical fraud
18

19    – risks justifying expenditures for protective and remedial services for which they

20    are entitled to compensation, (ii) invasion of privacy, (iii) breach of the
21
      confidentiality of their PII/PHI, (iv) statutory damages under the California CMIA,
22
      (v) deprivation of the value of their PII/PHI, for which there is a well-established
23
      national and international market, and/or (vi) the financial and temporal cost of
24

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 1
      monitoring their credit, monitoring their financial accounts, and mitigating their
 2
      damages.
 3
            189. Plaintiff, individually and for each member of the Class, seeks nominal
 4

 5    damages of one thousand dollars ($1,000) for each violation under Civil Code

 6    § 56.36(b)(1), and actual damages suffered, if any, pursuant to Civil Code
 7
      § 56.36(b)(2), injunctive relief, as well as punitive damages of up to $3,000 per
 8
      Plaintiff and each Class member, and attorneys’ fees, litigation expenses and court
 9
      costs, pursuant to Civil Code § 56.35.
10
                               THIRD CAUSE OF ACTION
11
                     Violations of California’s Unfair Competition Law
12                         Cal. Bus. & Prof. Code § 17200, et seq.
                       (On behalf of Plaintiff and the National Class)
13
            190. Plaintiff realleges and incorporates by reference all proceeding
14

15    paragraphs as if fully set forth herein.

16          191. Plaintiff brings this Count on his own behalf and on behalf of the

17    National Class (the “Class” for the purposes of this Count).
18
            192. The acts and omissions described herein were directed and
19
      emanated from Defendant’s California headquarters and injured Plaintiff and
20
      the Class Members throughout the United States.
21

22          193. The UCL prohibits any “unlawful” or “unfair” business act or practice,

23    as those terms are defined by the UCL and relevant case law. By virtue of the above-

24

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 1
      described wrongful actions, inaction, omissions, and want of ordinary care that
 2
      directly and proximately caused the Data Breach, Defendant engaged in unlawful
 3
      and unfair practices within the meaning, and in violation, of the UCL.
 4

 5          194. In the course of conducting their business, Defendant committed

 6    “unlawful” business practices by, inter alia, knowingly failing to design, adopt,
 7
      implement, control, direct, oversee, manage, monitor and audit appropriate data
 8
      security processes, controls, policies, procedures, protocols, and software and
 9
      hardware systems to safeguard and protect Plaintiff’s and Class Members’ Private
10
      Information, and by violating the statutory and common law alleged herein,
11

12    including, inter alia, the California Consumer Privacy Act of 2018 (Cal. Civ. Code

13    § 1798.100, et seq.), Article I, Section 1 of the California Constitution (California’s
14
      constitutional right to privacy), Cal. Civil Code § 1798.81.5, 45 C.F.R. § 164, et seq.,
15
      and Section 5 of the FTC Act. Plaintiff and Class Members reserve the right to allege
16
      other violations of law by Defendant constituting other unlawful business acts or
17
      practices. Defendant’s above-described wrongful actions, inaction, omissions, and
18

19    want of ordinary care are ongoing and continue to this date.

20          195. Defendant also violated the UCL by failing to timely notify Plaintiff
21
      and Class members pursuant to Civil Code § 1798.82(a) regarding the unauthorized
22
      access and disclosure of their Private Information. If Plaintiff and Class members
23

24

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 1
      had been notified in an appropriate fashion, they could have taken precautions to
 2
      safeguard and protect their Private Information and identities.
 3
             196. Defendant violated the Unfair prong of the UCL by establishing the
 4

 5    sub-standard security practices and procedures described herein; by soliciting and

 6    collecting Plaintiff’s and the Class’s Private Information with knowledge that the
 7
      information would not be adequately protected; and by storing Plaintiff’s and the
 8
      Class’s Private Information in an unsecure electronic environment. These unfair acts
 9
      and practices were immoral, unethical, oppressive, unscrupulous, unconscionable,
10
      and/or substantially injurious to Plaintiff and the Class. They were likely to deceive
11

12    the public into believing their Private Information was securely stored when it was

13    not. The harm these practices caused to Plaintiff and the Class outweighed their
14
      utility, if any.
15
             197. Defendant’s above-described wrongful actions, inaction, omissions,
16
      want of ordinary care, misrepresentations, practices, and non-disclosures also
17
      constitute “unfair” business acts and practices in violation of the UCL in that
18

19    Defendant’s wrongful conduct is substantially injurious to consumers, offends

20    legislatively-declared public policy, and is immoral, unethical, oppressive, and
21
      unscrupulous. Defendant’s practices are also contrary to legislatively declared and
22
      public policies that seek to protect Private Information and ensure that entities who
23
      solicit or are entrusted with personal data utilize appropriate security measures, as
24

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 1
      reflected by laws such as the CCPA, CMIA, Article I, Section 1 of the California
 2
      Constitution, HIPAA and the FTC Act (15 U.S.C. § 45). The gravity of Defendant’s
 3
      wrongful conduct outweighs any alleged benefits attributable to such conduct. There
 4

 5    were reasonably available alternatives to further Defendant’s legitimate business

 6    interests other than engaging in the above-described wrongful conduct.
 7
            198. Plaintiff and Class Members suffered injury in fact and lost money or
 8
      property as a result of Defendant’s violations of statutory and common law. Plaintiff
 9
      and the Class suffered from the loss of the benefit of the bargain by overpaying for
10
      services that should have included adequate data security for their Private
11

12    Information, by experiencing a diminution of value in their Private Information as a

13    result if its theft by cybercriminals, the loss of Plaintiff’s and the California Class’s
14
      legally protected interest in the confidentiality and privacy of their Private
15
      Information, and additional losses as described above
16
            199. As a direct and proximate result of Defendant’s above-described
17
      wrongful actions, inaction, omissions, and want of ordinary care that directly and
18

19    proximately caused the Data Breach and their violations of the UCL, Plaintiff and

20    Class members have suffered injury in fact and lost money or property as a result of
21
      Defendant’s unfair and deceptive conduct. Such injury includes paying for a certain
22
      level of security for their PII but receiving a lower level, paying more for
23
      Defendant’s products and services than they otherwise would have had they known
24

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 1
      Defendant was not providing the reasonable security represented in their Privacy
 2
      Policy and as in conformance with their legal obligations. Defendant’s security
 3
      practices have economic value in that reasonable security practices reduce the risk
 4

 5    of theft of customer’s PII.

 6          200. Plaintiff and Class members have also suffered (and will continue to
 7
      suffer) economic damages and other injury and actual harm in the form of, inter alia,
 8
      (i) an imminent, immediate and the continuing increased risk of identity theft and
 9
      identity fraud – risks justifying expenditures for protective and remedial services for
10
      which they are entitled to compensation, (ii) invasion of privacy, (iii) breach of the
11

12    confidentiality of their PII, (iv) statutory damages under the CCPA, (v) deprivation

13    of the value of their PII for which there is a well-established national and
14
      international market, and/or (vi) the financial and temporal cost of monitoring their
15
      credit, monitoring financial accounts, and mitigating damages.
16
            201. Unless restrained and enjoined, Defendant will continue to engage in
17
      the above-described wrongful conduct and more data breaches will occur. Plaintiff,
18

19    therefore, on behalf of themselves, Class Members, and the general public, also seek

20    restitution and an injunction, including public injunctive relief prohibiting
21
      Defendant from continuing such wrongful conduct, and requiring Defendant to
22
      modify their corporate culture and design, adopt, implement, control, direct, oversee,
23
      manage, monitor and audit appropriate data security processes, controls, policies,
24

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 1
      procedures protocols, and software and hardware systems to safeguard and protect
 2
      the Private Information entrusted to it, as well as all other relief the Court deems
 3
      appropriate, consistent with Bus. & Prof. Code § 17203.
 4

 5                            FOURTH CAUSE OF ACTION
           Violations of the California Consumer Privacy Act of 2018 (“CCPA”)
 6                              Cal. Civ. Code § 1798, et seq.
                    (On behalf of Plaintiff and the California Subclass)
 7

 8          202. Plaintiff realleges and incorporates by reference all proceeding

 9    paragraphs as if fully set forth herein.

10          203. Plaintiff brings this cause of action on behalf of himself and on behalf
11
      of the California Subclass (the “Class” for the purposes of this Count).
12
            204. As more personal information about consumers is collected by
13
      businesses, consumers’ ability to properly protect and safeguard their privacy has
14

15    decreased. Consumers entrust businesses with their personal information on the

16    understanding that businesses will adequately protect it from unauthorized access

17    and disclosure. The California Legislature explained: “The unauthorized disclosure
18
      of personal information and the loss of privacy can have devasting effects for
19
      individuals, ranging from financial fraud, identity theft, and unnecessary costs to
20

21

22

23

24

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 1
      personal time and finances, to destruction of property, harassment, reputational
 2
      damage, emotional stress, and even potential physical harm.” 18
 3
            205. As a result, in 2018, the California Legislature passed the CCPA, giving
 4

 5    consumers broad protections and rights intended to safeguard their personal

 6    information. Among other things, the CCPA imposes an affirmative duty on
 7
      businesses that maintain personal information about California residents to
 8
      implement and maintain reasonable security procedures and practices that are
 9
      appropriate to the nature of the information collected. Defendant failed to implement
10
      such procedures which resulted in the Data Breach.
11

12          206. It also requires “[a] business that discloses personal information about

13    a California resident pursuant to a contract with a nonaffiliated third party . . . [to]
14
      require by contract that the third party implement and maintain reasonable security
15
      procedures and practices appropriate to the nature of the information, to protect the
16
      personal information from unauthorized access, destruction, use, modification, or
17
      disclosure.” Cal. Civ. Code § 1798.81.5(c).
18

19          207. Section 1798.150(a)(1) of the CCPA provides: “Any consumer whose

20    nonencrypted or nonredacted personal information, as defined [by the CCPA] is
21
      subject to an unauthorized access and exfiltration, theft, or disclosure as a result of
22

23    18
            California Consumer Privacy Act (CCPA) Compliance, https://buyergenomics.com/ccpa-
24    complience/.

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 1
      the business’ violation of the duty to implement and maintain reasonable security
 2
      procedures and practices appropriate to the nature of the information to protect the
 3
      personal information may institute a civil action for” statutory or actual damages,
 4

 5    injunctive or declaratory relief, and any other relief the court deems proper.

 6          208. Plaintiff and the Class Members are “consumer[s]” as defined by Civ.
 7
      Code § 1798.140(g) because they are “natural person[s] who [are] California
 8
      resident[s], as defined in Section 17014 of Title 18 of the California Code of
 9
      Regulations, as that section read on September 1, 2017.”
10
            209. Defendant is a “business” as defined by Civ. Code § 1798.140(c)
11

12    because Defendant:

13                 a.    is a “sole proprietorship, partnership, limited
14
                         liability company, corporation, association, or
15
                         other legal entity that is organized or operated for
16
                         the profit or financial benefit of its shareholders
17
                         or other owners”;
18

19                 b.    “collects consumers’ personal information, or on

20                       the behalf of which is collected and that alone, or
21
                         jointly with others, determines the purposes and
22
                         means of the processing of consumers’ personal
23
                         information”;
24

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 1
                   c.    does business in California; and
 2
                   d.    has annual gross revenues in excess of $25
 3
                         million; annually buys, receives for the business’
 4

 5                       commercial    purposes,   sells     or     shares         for

 6                       commercial purposes, alone or in combination,
 7
                         the personal information of 50,000 or more
 8
                         consumers, households, or devices; or derives 50
 9
                         percent or more of its annual revenues from
10
                         selling consumers’ personal information.
11

12          210. The Private Information taken in the Data Breach is personal

13    information as defined by Civil Code § 1798.81.5(d)(1)(A) because it contains
14
      Plaintiff’s and the Class members’ unencrypted first and last names and Social
15
      Security numbers among other information.
16
            211. Plaintiff and the California Subclass’ Private Information was subject
17
      to unauthorized access and exfiltration, theft, or disclosure because their PII,
18

19    including name and contact information was wrongfully taken, accessed, and viewed

20    by unauthorized third parties.
21
            212. The Data Breach occurred as a result of Defendant’s failure to
22
      implement and maintain reasonable security procedures and practices appropriate to
23
      the nature of the information to protect Plaintiff and the Class members’ PII.
24

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 1
      Defendant failed to implement reasonable security procedures to prevent an attack
 2
      on their server or network, including its email system, by hackers and to prevent
 3
      unauthorized access of Plaintiff’s and Class Members’ PII as a result of this attack.
 4

 5          213. On September 13, 2022, Plaintiff provided Defendant with written

 6    notice of its violations of the CCPA, pursuant to Civil Code § 1798.150(b)(1). If
 7
      Defendant fails to respond, or has not cured or is unable to cure the violation within
 8
      30 days thereof, Plaintiff will amend this Complaint to seek all relief available under
 9
      the CCPA including damages to be measured as the greater of actual damages or
10
      statutory damages in an amount up to seven hundred and fifty dollars ($750) per
11

12    consumer per incident. See Cal. Civ. Code § 1798.150(a)(1)(A) & (b).

13          214. As a result of Defendant’s failure to implement and maintain reasonable
14
      security procedures and practices that resulted in the Data Breach, Plaintiff seeks
15
      injunctive relief, including public injunctive relief, declaratory relief, and any other
16
      relief as deemed appropriate by the Court.
17

18
                                FIFTH CAUSE OF ACTION
19                                    Invasion of Privacy
20
                          Art. I, § 1 of the California Constitution
                     (On behalf of Plaintiff and the California Subclass)
21
            215. Plaintiff realleges and incorporates by reference all proceeding
22
      paragraphs as if fully set forth herein.
23

24

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 1
            216. Plaintiff brings this Count on his own behalf and on behalf of the
 2
      California Subclass (the “Class” for the purposes of this Count).
 3
            217. Article 1, Section 1 of the California Constitution guarantees a right of
 4

 5    privacy to the citizens of California and Defendant violated that right by disclosing

 6    Plaintiff’s and the Class Members’ most intimate, sensitive, and confidential data to
 7
      a criminal actor.
 8
            218. Plaintiff and Class Members had a legitimate expectation of privacy to
 9
      their Private Information and were entitled to the protection of this information
10
      against disclosure to unauthorized third parties.
11

12          219. Defendant owed a duty to Plaintiff and Class Members to keep their

13    Private Information contained as a part thereof, confidential.
14
            220. Defendant failed to protect and released to unknown and unauthorized
15
      third parties the non-redacted and non-encrypted Private Information of Plaintiff and
16
      Class Members.
17
            221. Defendant allowed unauthorized and unknown third parties access to
18

19    and examination of the Private Information of Plaintiff and Class Members, by way

20    of Defendant’s failure to protect the Private Information.
21
            222. The unauthorized release to, custody of, and examination by
22
      unauthorized third parties of the Private Information of Plaintiff and Class Members
23
      is highly offensive to a reasonable person.
24

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 1
             223. The intrusion was into a place or thing, which was private and is entitled
 2
      to be private. Plaintiff and Class Members disclosed their Private Information to
 3
      Defendant as a necessary condition of their receiving healthcare, but privately with
 4

 5    an intention that the PII would be kept confidential and would be protected from

 6    unauthorized disclosure. Plaintiff and Class Members were reasonable in their belief
 7
      that such information would be kept private and would not be disclosed without their
 8
      authorization.
 9
             224. The Data Breach at the hands of Defendant constitutes an intentional
10
      interference with Plaintiff’s and Class Members’ interest in solitude or seclusion,
11

12    either as to their persons or as to their private affairs or concerns, of a kind that would

13    be highly offensive to a reasonable person.
14
             225. Defendant acted with a knowing state of mind when it permitted the
15
      Data Breach to occur because it was with actual knowledge that its information
16
      security practices were inadequate and insufficient.
17
            226. Because Defendant acted with this knowing state of mind, it had notice
18

19    and knew the inadequate and insufficient information security practices would cause

20    injury and harm to Plaintiff and Class Members.
21
            227. As a proximate result of the above acts and omissions of Defendant, the
22
      Private Information of Plaintiff and Class Members was disclosed to third parties
23
      without authorization, causing Plaintiff and Class Members to suffer damages.
24

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 1
            228. Unless and until enjoined, and restrained by order of this Court,
 2
      Defendant’s wrongful conduct will continue to cause great and irreparable injury to
 3
      Plaintiff and Class Members in that the Private Information maintained by
 4

 5    Defendant can be viewed, distributed, and used by unauthorized persons for years to

 6    come. Plaintiff and Class Members have no adequate remedy at law for the injuries
 7
      in that a judgment for monetary damages will not end the invasion of privacy for
 8
      Plaintiff and Class Members.
 9
                               SIXTH CAUSE OF ACTION
10                        Common Law Intrusion upon Seclusion
                        (On behalf of Plaintiff and the National Class)
11

12          229. Plaintiff realleges and incorporates by reference all proceeding

13    paragraphs as if fully set forth herein.
14
            230. Plaintiff brings this Count on his own behalf and on behalf of the
15
      National Class (the “Class” for the purposes of this Count).
16
            231. Plaintiff and Class Members had a legitimate expectation of privacy to
17
      their Private Information and were entitled to the protection of this information
18

19    against disclosure to unauthorized third parties.

20          232. Defendant owed a duty to Plaintiff and Class Members to keep their
21
      Private Information contained as a part thereof, confidential.
22

23

24

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 1
             233. Defendant failed to protect and released to unknown and unauthorized
 2
      third parties the non-redacted and non-encrypted Private Information of Plaintiff and
 3
      Class Members.
 4

 5           234. Defendant allowed unauthorized and unknown third parties access to

 6    and examination of the Private Information of Plaintiff and Class Members, by way
 7
      of Defendant’s failure to protect the Private Information.
 8
             235. The unauthorized release to, custody of, and examination by
 9
      unauthorized third parties of the Private Information of Plaintiff and Class Members
10
      is highly offensive to a reasonable person.
11

12           236. The intrusion was into a place or thing, which was private and is entitled

13    to be private. Plaintiff and Class Members disclosed their Private Information to
14
      Defendant as a necessary condition of their receiving healthcare, but privately with
15
      an intention that the PII would be kept confidential and would be protected from
16
      unauthorized disclosure. Plaintiff and Class Members were reasonable in their belief
17
      that such information would be kept private and would not be disclosed without their
18

19    authorization.

20           237. The Data Breach at the hands of Defendant constitutes an intentional
21
      interference with Plaintiff’s and Class Members’ interest in solitude or seclusion,
22
      either as to their persons or as to their private affairs or concerns, of a kind that would
23
      be highly offensive to a reasonable person.
24

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 1
            238. Defendant acted with a knowing state of mind when it permitted the
 2
      Data Breach to occur because it was with actual knowledge that its information
 3
      security practices were inadequate and insufficient.
 4

 5          239. Because Defendant acted with this knowing state of mind, it had notice

 6    and knew the inadequate and insufficient information security practices would cause
 7
      injury and harm to Plaintiff and Class Members.
 8
            240. As a proximate result of the above acts and omissions of Defendant, the
 9
      Private Information of Plaintiff and Class Members was disclosed to third parties
10
      without authorization, causing Plaintiff and Class Members to suffer damages.
11

12          241. Unless and until enjoined, and restrained by order of this Court,

13    Defendant’s wrongful conduct will continue to cause great and irreparable injury to
14
      Plaintiff and Class Members in that the Private Information maintained by
15
      Defendant can be viewed, distributed, and used by unauthorized persons for years to
16
      come. Plaintiff and Class Members have no adequate remedy at law for the injuries
17
      in that a judgment for monetary damages will not end the invasion of privacy for
18

19    Plaintiff and Class Members.

20       VII. PRAYER FOR RELIEF
21
         WHEREFORE, Plaintiff, individually and on behalf of the Classes defined
22
      herein, prays for judgment as against Defendant as follows:
23

24

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 1
                   a.     For an Order certifying this action as a Class action and
 2
      appointing Plaintiff and their counsel to represent the Classes;
 3
                   b.     For equitable relief enjoining Defendant from engaging in the
 4

 5    wrongful conduct complained of herein pertaining to the misuse and/or disclosure

 6    of Plaintiff and Class Members’ PII and PHI, and from refusing to issue prompt,
 7
      complete and accurate disclosures to Plaintiff and Class members;
 8
                   c.     For equitable relief compelling Defendant to utilize appropriate
 9
      methods and policies with respect to consumer data collection, storage, and safety,
10
      and to disclose with specificity the type of PII and PHI compromised during the
11

12    Breach;

13                 d.     For equitable relief requiring restitution and disgorgement of the
14
      revenues wrongfully retained as a result of Defendant’s wrongful conduct;
15
                   e.     Ordering Defendant to pay for not less than three years of credit
16
      monitoring services for Plaintiff and the Classes;
17
                   f.     For an award of actual damages, compensatory damages,
18

19    statutory damages and statutory penalties, in an amount to be determined, as

20    allowable by law;
21
                   g.     For an award of punitive damages, as allowable by law;
22
                   h.     For an award of attorneys’ fees and costs, and any other expense,
23
      including expert witness fees;
24

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 1
                  i.     Pre- and post-judgment interest on any amounts awarded and,
 2
                  j.     All such other and further relief as this court may deem just and
 3
      proper.
 4

 5       VIII. JURY TRIAL DEMAND

 6          242. Plaintiff hereby demands a trial by jury on all issues so triable.
 7

 8
      DATED: Sept. 13, 2022                        s/ John J. Nelson
 9
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20
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21                                                 *Pro Hac Vice forthcoming

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23

24

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